
USCA1 Opinion

	










          March 1, 1996
                            UNITED STATES COURT OF APPEALS
                            UNITED STATES COURT OF APPEALS
                                FOR THE FIRST CIRCUIT
                                FOR THE FIRST CIRCUIT
                                 ____________________
        No. 94-1852

                              UNITED STATES OF AMERICA,

                                      Appellee,

                                          v.

                                     JACK BLACK,

                                Defendant, Appellant.

                                 ____________________

        No. 95-1149
                              UNITED STATES OF AMERICA,

                                      Appellee,

                                          v.

                                 HERBERT E. PLYMPTON,

                                Defendant, Appellant.

                                  __________________

        No. 95-1187
                              UNITED STATES OF AMERICA,

                                      Appellee,

                                          v.

                               JEFFREY HARRIS LAVIGNE,

                                Defendant, Appellant.

                                 ____________________

                                     ERRATA SHEET

            On page 3, lines 9 and 11 down, replace "Black" with "Lavigne".

            On page 13, line 4, "latter" should be "later".

            On page 20, last line, insert "is" between "departure" and "not".




















                            UNITED STATES COURT OF APPEALS
                            UNITED STATES COURT OF APPEALS
                                FOR THE FIRST CIRCUIT
                                FOR THE FIRST CIRCUIT
                                 ____________________
        No. 94-1852

                              UNITED STATES OF AMERICA,

                                      Appellee,

                                          v.

                                     JACK BLACK,

                                Defendant, Appellant.

                                 ____________________

        No. 95-1149
                              UNITED STATES OF AMERICA,

                                      Appellee,

                                          v.

                                 HERBERT E. PLYMPTON,

                                Defendant, Appellant.

                                  __________________

        No. 95-1187
                              UNITED STATES OF AMERICA,

                                      Appellee,

                                          v.

                               JEFFREY HARRIS LAVIGNE,

                                Defendant, Appellant.

                                 ____________________

                    APPEALS FROM THE UNITED STATES DISTRICT COURT

                           FOR THE DISTRICT OF RHODE ISLAND

                 [Hon. Francis J. Boyle, Senior U.S. District Judge]
                                         __________________________




















                                 ____________________

                                        Before

                                Boudin, Circuit Judge,
                                        _____________

                            Coffin, Senior Circuit Judge,
                                    ____________________

                          and Rosenn,* Senior Circuit Judge.
                                       ____________________
                                           
                                 ____________________

            David  A. Schechter,  Margaret-Mary  Hovarth and  Law  Offices  of
            ___________________   ______________________      ________________
        David A. Schechter on brief for appellant Jack Black.
        __________________
            Charles  J.   Rogers,  Jr.  on  brief  for  appellant  Herbert  E.
            __________________________
        Plympton.
            Paul A. Dinsmore on brief for appellant Jeffrey Harris Lavigne.
            ________________
            Jeffrey Harris Lavigne on brief pro se.
            ______________________
            Gerard  B. Sullivan,  Assistant  United States  Attorney,  Sheldon
            ___________________                                        _______
        Whitehouse, United States Attorney,  and Margaret E. Curran, Assistant
        __________                               __________________
        United States Attorney, on briefs for the United States.

                                 ____________________

                                  February 27, 1996
                                 ____________________






















                            
        ____________________

        *Of the Third Circuit, sitting by designation.















                 BOUDIN, Circuit Judge.   Appellants Jack Black,  Herbert
                         _____________

            Plympton and  Jeffrey Lavigne were indicted  in November 1993

            and  charged  with conspiracy  to  steal  and sell  goods  in

            interstate  commerce,  18  U.S.C.    371,  and  with  various

            substantive crimes incident to the conspiracy.  Also named in

            the indictment as co-defendants were the alleged ring-leader,

            Donald  St. Germain, and two others:  Raymond Wilbur and Joni

            Lynn Smith, who  was Plympton's  wife.  All  of the  indicted

            defendants,  except  for  Lavigne  and  Plympton, later  pled

            guilty to  specific offenses.   Several other co-conspirators

            pled guilty to informations.

                 Lavigne  and  Black  were  convicted  in  separate  jury

            trials.  At  trial, the  government sought to  show that  St.

            Germain organized  a series of  thefts of truck  trailers and

            merchandise  in 1991 and 1992.  Typically, the thieves used a

            borrowed  or stolen truck tractor  to haul away an unattended

            trailer.  After checking the contents, they moved the trailer

            to various locations in  Rhode Island and thereafter disposed

            of the merchandise.  One storage location was at the American

            Waste Paper Company in Cranston, Rhode Island; later, several

            shipments were stored  at the Plympton farm  in Exeter, Rhode

            Island.

                 In   Plympton's  case,  the   government  dismissed  the

            conspiracy  count   against  him  and  tried   him  on  three

            substantive  counts  relating  to  two  of  the  many  thefts



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            attributed to  St. Germain.   Counts 1 and 2  of the redacted

            Plympton  indictment charged  him with  receiving, concealing

            and disposing of a shipment  of stolen Lands' End merchandise

            moving  in interstate  commerce in  the fall  of 1992  and of

            knowingly possessing stolen goods comprising part of the same

            shipment.  18 U.S.C.    2315,  659.  Count 3, based solely on

            section  2315,  involved  a shipment  of  Pennsylvania  House

            furniture, stolen  a  month or  so later  and allegedly  also

            stored at the Plympton farm.

                 Lavigne,  St.  Germain's  companion  or  bodyguard,  was

            indicted only  on a single  count.   He was charged  under 18

            U.S.C.    1512(b)(3) with threatening physical  harm in order

            to  delay  or prevent  one  Kathleen  Hartman from  providing

            information  to   a   law  enforcement   officer   concerning

            commission  of a  federal  offense.   Hartman was  the office

            manager  of American  Waste  Paper Company  and had  provided

            information  to state  and  federal agents.   The  government

            charged Lavigne with twice intimidating Hartman in the spring

            of 1991.

                 Black,  who had  pled guilty  to  conspiracy and  to one

            substantive  count under  section 2315,  was sentenced  to 60

            months' imprisonment;  Plympton to 41 months;  and Lavigne to

            46 months.  Substantial restitution payments were ordered for

            Black and Plympton, and Lavigne was fined $1,000.  On appeal,





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            Plympton and Lavigne  challenge their convictions, and  Black

            and Plympton appeal from their sentences.

                 Plympton.  On this appeal, Plympton does not dispute the
                 ________

            sufficiency of the evidence on counts 1 and 2 but argues that

            they comprised  only a single offense,  making the indictment

            multiplicitous and violating the bar against double jeopardy.

            More precisely, Plympton argues  that the section 659 offense

            is effectively a lesser included offense within section 2315.

            If it were, Plympton could not be convicted and sentenced for

            both  offenses based  on the  same theft.   United  States v.
                                                        ______________

            Parrilla-Tirado, 22 F.3d 368, 372 (1st Cir. 1994).
            _______________

                 Under the familiar test of Blockburger v. United States,
                                            ___________    _____________

            284 U.S.  299, 304 (1932), the two statutes do not punish the

            same offense,  nor is  one included  within the  other, where

            "each provision  requires proof  of an additional  fact which

            the other does  not."  To prove  a violation of  section 659,

            the government had to show  that Plympton stole or  concealed

            property "moving as or . . . part of or .  . . constitut[ing]

            an  interstate . . . shipment"; here, for example, the Lands'

            End  shipment  when  stolen  had been  moving  in  interstate

            commerce.

                 Section 2315,  by contrast, does not  require proof that

            the theft was from interstate commerce; but it does require a

            different interstate-commerce element not required by section

            659.   Section 2315 punishes  receiving or disposing of goods



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                                         -5-















            known to be stolen where such goods "have crossed a State . .

            . boundary after being stolen."  In this case, the Lands' End

            shipment, after  being stolen  in Pennsylvania, was  moved to

            Plympton's farm in Rhode Island.

                 The central focus of each statute is somewhat different,

            one being concerned primarily  with theft and concealment and

            the  other  with  the   receipt  and  disposition  of  stolen

            property.  Plympton's activity, in  the middle of the  chain,

            brought  him within the language of both.  And the difference

            in  the interstate  commerce  elements meets  the  mechanical

            Blockburger test.  The  test has been criticized, but  it was
            ___________

            properly  applied in  the district  court, happens  to do  no

            injustice here (one trial; no increase in punishment), and is

            binding upon us.

                 No  Blockburger problem  is  presented by  count 3.   It
                     ___________

            concerned  a  different  theft--that  of  Pennsylvania  House

            furniture--on a different occasion;  and in this instance the

            charge was based  only upon section 2315.   But on this count

            Plympton  does  challenge  the sufficiency  of  the evidence,

            arguing  that  the  government   failed  to  prove  that  the

            Pennsylvania House furniture was  ever at his farm or,  if it

            was, that Plympton knew about it.

                 Taking the evidence  in the light most  favorable to the

            government, United States v. Robles, 45 F.3d 1, 2 (1st Cir.),
                        _____________    ______

            cert.  denied,  115  S.  Ct.  1416  (1995),  the  jury  could
            _____________



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                                         -6-















            reasonably conclude  that Plympton  used his farm  to conceal

            stolen shipments for  St. Germain; some of the  stolen Lands'

            End merchandise was  found on  the farm and  there was  ample

            evidence  that Plympton knew it  was stolen.   There was also

            evidence  that   Plympton  had  earlier  concealed  a  stolen

            shipment of  K-Mart merchandise on  the farm.   Against  this

            background,  the   evidence  to   connect  Plympton   to  the

            Pennsylvania State furniture shipment was  sufficient even if

            not overwhelming.

                 Although none of  the furniture was  found at the  farm,

            there  was  unequivocal  testimony  from  one  witness--Frank

            Macera--that  Plympton received  the  furniture shipment  and

            knew  it to  be stolen.   Macera,  who had  pled guilty  to a

            criminal information covering the same transaction, was not a

            very  trustworthy witness.    But the  jury  was entitled  to

            accept his testimony, which was plausible  enough, especially

            because technical  and eye-witness evidence  added small  but

            useful elements of corroboration.

                 Finally,  Plympton  contests  his  sentence  in  several

            respects.    First, in  calculating  the  offense level,  the

            district court  imposed a two-level increase  for obstruction

            of justice;  specifically, the court found  that Plympton had

            lied  at trial  when he  denied knowing  that the  Lands' End

            merchandise in his barn was stolen and knowing anything about

            the  Pennsylvania House furniture.   No one disputes that the



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                                         -7-















            increase was required if Plympton did  in fact commit perjury

            at trial.    U.S.S.G.    3C1.1;  United States  v.  Hernandez
                                             _____________      _________

            Coplin, 24 F.3d 312, 317 (1st Cir.), cert. denied, 115 S. Ct.
            ______                               ____________

            378 (1994).

                 Plympton says that the evidence was insufficient to show

            that he knew that either load of furniture was stolen. But we

            have already said that there was enough to convict as to  the

            Pennsylvania House furniture  theft and the evidence  against

            him as to the Lands' End theft was even stronger.  If  it was

            enough  to convict, it was  more than ample  for a sentencing

            determination   under  the  preponderance   of  the  evidence

            standard.   United States v.  Lombard, 32 F.2d  170, 176 (1st
                        _____________     _______

            Cir. 1995).   The claim of inadequate evidence is too weak to

            warrant further discussion.

                 After  calculating  the offense  level, the  trial judge

            departed upward by  two additional levels.   The grounds  for

            this departure were that after conviction but before sentence

            Plympton created  an irrevocable trust  for his six  year old

            daughter and  transferred to  it, without consideration,  his

            real estate and business assets.  The trial judge found after

            a hearing at which Plympton testified that the purpose of the

            transfer was  to frustrate  collection  of a  likely fine  or

            restitution and  that Plympton himself regarded  the trust as

            "a sham."





                                         -8-
                                         -8-















                 Plympton  now  attacks  the  district  court's  finding,

            arguing  (as he  testified) that  his  purpose was  simply to

            provide for his  daughter during his imprisonment  and in the

            event of divorce.  But the evidence also showed that Plympton

            created  the trust shortly after his wife had been ordered to

            pay  over $400,000  in  restitution; that  Plympton had  been

            warned  by his lawyer  that the trust  might be viewed  as an

            attempt  to avoid payment  of restitution or  fines; and that

            Plympton  intended to  return to  operate his  business after

            release and  expected to be  able to use  the real estate  as

            well.

                 Fact-findings  by  the  district  court  in  sentencing,

            including departures, are based on the preponderance standard

            and subject  to reversal only  if clearly erroneous.   United
                                                                   ______

            States v. Porter,  924 F.2d 395,  399 (1st Cir.  1991).   The
            ______    ______

            court's  findings  as  to  Plympton's aim  and  attitude  are

            permissible inferences  by a fact-finder  who heard  Plympton

            testify.   They are not inconsistent with the further finding

            that Plympton also  sought through the  trust to provide  for
                          ____

            his  daughter and manage his  business while in  prison.  The

            end was proper but the means were not.

                 Although  Plympton does  not  argue the  issue in  these

            terms,  we have  also considered  whether the  district court

            accepted, and  the evidence supports,  the government's claim

            that Plympton acted  in bad faith.   Without this  additional



                                         -9-
                                         -9-















            element, we might  have serious concerns.   But the  district

            court's language  ("sham," "fraud")  makes clear that  it did

            find bad faith and, again, the inference is permissible under

            the clearly erroneous standard.  Our concerns, therefore, are

            for another occasion.

                 The most interesting issue is one that Plympton does not

            raise, namely,  whether the  attempt to  frustrate a fine  or

            restitution  order is  a permissible  basis for  a departure.

            While Plympton did  not preserve  the issue nor  argue it  on

            appeal, we would at  least be faced with a  plain error issue

            if  we thought that the departure were not authorized.  There

            is no need to discuss the extent of deference that may be due

            to  the district court, see United States v. Rivera, 994 F.2d
                                    ___ _____________    ______

            942  (1st  Cir.  1993),  since we  agree  that  its  implicit

            interpretation of the guidelines was correct.

                 A  defendant's  attempt  to  frustrate  the   actual  or

            anticipated judgment  by secreting assets is  closely akin to

            obstruction  of justice;  indeed, if  Plympton had  sought to

            hide himself before sentencing  in order to avoid  prison, he

            would  plainly be  covered by  the obstruction  guideline and

            subject  to  an  automatic   two-level  enhancement  on  that

            account.   U.S.S.G.   3C1.1,  Comment. (n. 3(e)).   One could

            argue  that the secreting of  assets was covered  by the same

            guideline  but, if  not, then  by analogy  Plympton's conduct





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                                         -10-















            properly  qualified  for  a  departure   under  the  catchall

            departure provision.  U.S.S.G.   5K2.0.

                 Plympton might  protest that, since he  has already been

            given a  two-level adjustment for obstruction  by perjury, it

            is  double counting  to  give him  an  additional two  levels

            through  the  departure mechanism.    Of  course, the  latter

            increase  results from  a different  act of  obstruction; but

            Plympton might respond  that the guidelines contemplate  only

            one  two-level   increase,  no   matter  how  many   acts  of

            obstruction occur and regardless of whether the second act is

            considered under section 3C1.1 or 5K2.0.

                 Here,  Plympton's attempt  to frustrate  restitution was

            not  just additional perjury but  a new and  different act of

            misbehavior with a different  victim; and the sum of  the two

            is  greater than  either standing  alone.   Even if  both are

            treated as forms of obstruction and are within section 3C1.1-

            -a matter we need not decide--section 5K1.0 permits departure

            for an aggravating circumstance  "of a kind, or to  a degree,
                                                         _______________

            not adequately"  considered by the guidelines.   The district

            court could fairly  conclude that this case fell  outside the

            "heartland" and warranted a  departure.  Accord United States
                                                     ______ _____________

            v. Merritt,  988 F.2d 1298, 1310-11 (2d  Cir.), cert. denied,
               _______                                      ____________

            113 S. Ct. 2933 (1993).

                 Plympton's last  sentencing claim is  that the  district

            court acted  improperly in requiring him  to make restitution



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                                         -11-















            either at all or within 60 days.  None of the arguments under

            this  head were  presented in  the district  court.   We have

            examined them all and conclude that none of the arguments now

            offered even arguably points to plain error.  

                 Lavigne.     Lavigne,  like  Plympton,  urges  that  the
                 _______

            evidence  was not sufficient to permit a jury to convict him.

            The single violation  charged in his case was  of 18 U.S.C.  

            1512(b)(3)  which  in  pertinent  part  punishes  anyone  who

            "knowingly   uses  intimidation   of  physical   force,  [or]

            threatens . . . or attempts to do so . . . with intent to   .

            .  . hinder,  delay, or  prevent the  communication to  a law

            enforcement officer . . . of the United States of information

            relating  to  the  commission  or possible  commission  of  a

            Federal offense . . . ."

                 The evidence  against Lavigne,  taken in the  light most

            favorable to the  government, Robles, 45 F.3d at 2, permitted
                                          ______

            the jury to  find the  following.  Kathleen  Hartman was  the

            officer manager  of American Waste  Paper and had  a romantic

            connection  to its owner, Frank  Luchka.  The  company was in

            bankruptcy  and St.  Germain  persuaded Luchka  to allow  the

            company's premises to  be used to store  the stolen trailers.

            Hartman  was aware  of these  arrangements and  assisted with

            record-keeping   and  other   tasks  concerning   the  stolen

            property.





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                 In February 1991,  Hartman secretly contacted the  Rhode

            Island State Police and reported that the site was being used

            for  stolen  property.    On April  3,  1991,  the  company's

            premises  were raided by the FBI, the state police, and local

            police,  and  a number  of  stolen  trailers were  recovered.

            Hartman continued to cooperate  confidentially with state and

            later with federal agents.  The conduct for which Lavigne was

            indicted comprised two episodes.

                 First, on the day  of the raid, Luchka and  Hartman were

            present  during the search; that evening they met at a nearby

            bar and were joined by St. Germain and Lavigne.  With Lavigne

            barring Hartman's  exit from the  bar booth, St  Germain told

            Hartman that he would have  her silenced if she spoke  to law

            enforcement  agents.    As  Hartman went  downstairs  to  the

            restrooms,  she met Lavigne who was  returning up the stairs.

            Lavigne  stopped and,  apparently  without  saying  anything,

            lifted his pant leg to reveal a gun in an ankle holster.

                 Second, a week or  so later, Hartman and Luchka  were at

            another bar  and again  encountered St. Germain  and Lavigne.

            St.  Germain and Luchka  went outside where  St. Germain told

            Luchka that he  thought that Hartman had  "blown the whistle"

            on the scheme.  When they returned, St. Germain asked Hartman

            if she had spoken with anyone and, with an oblique reference,

            indicated  that she  would come to  harm if she  did.  During

            this warning, Lavigne, who was standing between them with his



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                                         -13-















            foot resting on a bar stool, lifted his pants leg to reveal a

            leather holster on his ankle.

                 From this evidence alone, the jury was entitled to infer

            that   Lavigne  was  deliberately  threatening  Hartman  with

            violence if  she cooperated with law enforcement authorities.

            Lavigne's pantomime  was patently  a threat of  violence, and

            nothing in the  statute requires that  the threat be  verbal.

            United States  v.  Balzano, 916  F.2d  1273, 1291  (7th  Cir.
            _____________      _______

            1990).  On appeal,  Lavigne offers a more antiseptic  version

            of what happened,  but we  have reviewed  the transcript  and

            conclude that the  jury was entitled to find the  facts as we

            have recited them. 

                 Lavigne raises  a series of objections  based on alleged

            misconduct by the prosecution and on the alleged incompetence

            of his  trial counsel.  The misconduct  claim is based on the

            introduction of testimony  by two FBI agents that Lavigne had

            admitted intimidating Hartman; this statement was made during

            a polygraph  examination and, it is  argued, therefore should

            not  have  been used  by  the prosecution.    The ineffective

            assistance claim  rests on trial counsel's  failure to elicit

            two prior state felonies  which were subsequently elicited by

            the prosecution; the failure of counsel to call two witnesses

            who  allegedly would have  exonerated Lavigne;  and counsel's

            failure to object to  the introduction of Lavigne's statement

            during the polygraph examination.  



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                                         -14-















                 As  to  the   statements  made   during  the   polygraph

            examination,  there was no error here, let alone plain error.

            Although the results of polygraph examinations are  generally

            inadmissible, see United States v. Scarborough, 43 F.3d 1021,
                          ___ _____________    ___________

            1026  (6th  Cir.  1994),  it  was  not  the  results  of  the
                                                         _______

            examination  that were  introduced,  but  only Lavigne's  own

            admissions to the examiners.   Lavigne had signed a waiver of

            his right against self-incrimination, and he offers no reason

            why the fact that the statements were made during a voluntary

            polygraph  examination  should  affect  their  admissibility.

            Lavigne's claim of  prosecutorial misconduct is  thus without

            merit.

                 Absent unusual circumstances, we do not review claims of

            ineffective assistance  that have not been  raised before the

            trial court.   United States v. Mala,  7 F.3d 1058, 1063 (1st
                           _____________    ____

            Cir. 1993)  cert. denied,  114 S. Ct.  1839 (1994).   Each of
                        ____________

            Lavigne's  claims involves  questions  of trial  tactics  and

            resulting  prejudice  and  requires inquiry  into  underlying

            facts.   We  do not  think that  "the record  is sufficiently

            developed to allow reasoned consideration of the claim," id.,
                                                                     ___

            and   therefore  decline   to  reach   Lavigne's  ineffective

            assistance of counsel claim.

                 Black.  Black was arrested in the course of delivering a
                 _____

            portion of a stolen load of Pennsylvania House furniture from

            Plympton's farm  to a  flea market in  Revere, Massachusetts.



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            He later pled  guilty to  two counts, one  charging him  with

            participation  in  the  overall  conspiracy  and   the  other

            relating to the Revere delivery.  18 U.S.C.    371, 2314.  In

            exchange,   the  government  agreed  among  other  things  to

            recommend  a  sentence  at  the low  end  of  the  applicable

            guideline range  and to file  a downward departure  motion if

            Black provided substantial assistance.  

                 The presentence report computed Black's adjusted offense

            level  as 14, based  on the value of  the goods attributed to

            Black and on other adjustments (upward  for more than minimal

            planning  and  downward  for  acceptance  of responsibility).

            U.S.S.G.      2B1.1,  3E1.1.   The  presentence  report  also

            computed Black's  criminal history points as  21, placing him

            in category  VI, the  highest category.   These calculations,

            which  were accepted  by  the district  court, established  a

            range of 37 to 46 months' imprisonment.

                 At the  outset of  the sentencing hearing,  the district

            court  expressed concern  that  the resulting  range did  not

            adequately  reflect  Black's  full criminal  history.   After

            letting defense  counsel argue  against an  upward departure,

            the  district court  pointed out  that at  age 32,  Black had

            already accumulated  21 criminal history points,  8 more than

            were needed  to place him  in category  VI.   The court  then

            reviewed  Black's criminal  history  in detail,  describing a





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                                         -16-















            succession  of offenses  and  penalties starting  at age  18,

            Black's juvenile file being sealed:

                 At  age 18  assault, disorderly  conduct, malicious
                 damage,  larceny,  assault  and  battery.    At  19
                 larceny.    Age 20  assault  and battery.    Age 20
                 larceny  over  $500.    This is  breaking  into  an
                 automobile and stealing a battery and some plumbing
                 tools which  the  Defendant got  apparently a  year
                 custody and  that counts for  one point.   Age  20,
                 disorderly   conduct.     Age  20,   possession  of
                 controlled substance which is diazotan.  He got two
                 years suspended.  He's  a violator on a preexisting
                 suspended sentence.   He  gets two years  to serve.
                 That counts for three points.  Age 20, shoplifting.
                 Age 20, conspiracy to commit larceny,  larceny over
                 $500.  That  counts for  one point.   That's a  one
                 year  suspended  sentence,  three years  probation.
                 Age  20,  possession  of a  stolen  motor  vehicle.
                 Counts for three  points.  One year custody.   This
                 is a 1979  Ford econoline van which had been stolen
                 which  the   Defendant  was   driving.    Age   20,
                 possession   of  marijuana,  one   point,  30  days
                 custody.    Age  20,  possession  of  stolen  motor
                 vehicle which a number of other charges, possession
                 of needle and syringe.  Three years custody.  Three
                 points.   Age 21, armed  robbery.  This  is a Dairy
                 Mart held up  at gun point  in Warwick.  He  got 30
                 years, 11 to serve and 19 suspended.  It counts for
                 three points.  Apparently there's a violation there
                 on that.  Since January 27 of 1994, age 29, passing
                 counterfeit certificates.  That's a counterfeit $20
                 bill.   He got  five  years, six  months to  serve.
                 That counts  for two.  The armed robbery counts for
                 three.    Age  29,  disorderly  conduct,  resisting
                 arrest.  Age  30, simple assault.   Counts for  one
                 plus  two points  because  the Defendant  committed
                 this  offense while  he was  on probation,  and one
                 point because he was released from prison less than
                 two years prior  to the instant offense.   All this
                 in 32 years.

                 The district  court then formally concluded that Black's

            criminal history  category did  not adequately  represent his

            actual  criminal history and departed upward from level 14 to

            level  17.  This  increased the guideline  range to  51 to 63


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            months.  The government recommended a sentence at the low end

            of the range, as it  had promised but declined to move  for a

            departure under  U.S.S.G.   5K1.1  because Black's assistance

            had  not proved  useful.  The  district court  then sentenced

            Black to 60 months'  imprisonment, explaining its reasons for

            this choice.

                 On  appeal, Black's  only challenge  is to  the district

            court's decision  to  depart upward.    The "law"  is  simply

            stated.   The  guidelines permit  such a departure  where the

            court believes  that the  criminal history category  does not

            "adequately reflect the  seriousness of the  defendant's past

            criminal conduct,"  U.S.S.G.    4A1.3, and this  includes "on

            occasion" a  departure even for a category  VI defendant with

            an "egregious,  serious criminal  record [for whom]  even the

            guideline  range  for Criminal  History  Category  VI is  not

            adequate." Id.
                       ___

                 Putting aside  a procedural  objection that we  think is

            without  merit, Black  makes two different  arguments against

            the  departure  decision:   the  first  is  a  claim that  no

            departure was justified on the present facts.  Since the type

            of  departure   involved  is   expressly  permitted   by  the

            guidelines,  the question  whether one  was justified  by the

            circumstances here turns on  questions of fact, reviewed only

            for   clear  error,   and   of  law   application,   reviewed

            deferentially under "a  standard of reasonableness."   United
                                                                   ______



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            States v. Diaz-Villafane, 874  F.2d 43, 49 (1st  Cir.), cert.
            ______    ______________                                _____

            denied, 493 U.S. 862 (1989).
            ______

                 The facts are essentially undisputed--no one claims that

            the court misdescribed Black's criminal history--so the issue

            is  one  of reasonable  judgment  in  applying the  departure

            criteria  to particular facts.  Black  says that the district

            court  acted mechanically,  imposing the  departure basically

            because  Black  had  far  more points  than  the  minimum for

            category  VI.   This is  not a  complete description  of what

            happened:     the   district   judge  mentioned   the   point

            differential but  followed this with a  lengthy recitation of

            Black's  actual  criminal  history,  which  we  have  already

            quoted.

                 What this record  showed was that in  a 14-year criminal

            career  starting at age 18, Black  had been almost constantly

            in  trouble except for one  period spent in  prison; that his

            offenses  involved drugs, theft,  repeated physical violence,

            and on  one  occasion  firearms;  that  despite  considerable

            leniency in punishment at  early stages, he regularly resumed

            his  criminal career;  that even  a substantial  sentence for

            armed robbery did not dissuade  him from resuming this career

            of crime upon his  release; and that he had  committed crimes

            while on suspended sentence and probation.  

                 It  is plain that the district  court thought that Black

            had devoted himself  to a  career of crime  which, given  his



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                                         -19-















            still  young age,  was  far from  over.   It followed  that a

            sentence  of   three  to  four  years--as   provided  by  the

            guidelines--was  not  very   substantial  protection  to  the

            community,  nor   likely  to   deter  a  defendant   who  had

            effectively shrugged  off an  eleven year sentence  for armed

            robbery.  Indeed, the government reports that, when arrested,

            Black  allegedly  told the  state  police  detective that  he

            "could do the time on his head."

                 The  implicit concerns  of the  district court  are ones

            deemed pertinent by the cases which  advert to the "frequency

            and  repetitiveness of the felonious behavior," United States
                                                            _____________

            v.  Ocasio,  914 F.2d 330, 335 (1st Cir.  1990), and the risk
                ______

            of recidivism, United States v. Emery, 991 F.2d 907, 913 (1st
                           _____________    _____

            Cir. 1993).   It is hard  to quantify these concerns  but, on

            this  issue, we think that the district court was entitled to

            take note of the fact that Black had over 150  percent of the

            points needed for category  VI.  We agree with Black  that in

            some cases departures have been based on worse records but do

            not think that the  district court's decision to  depart here

            was unreasonable.

                 It would have been helpful  if these inferences had been

            spelled out by the district judge.  Ocasio, 914 F.2d at 335 &amp;
                                                ______

            n.3.   But we think they  are obvious in the district court's

            recitation  of Black's  criminal  history and  certain  other

            remarks  made by the judge  at sentencing.  Upward departures



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                                         -20-















            are  serious  business; and,  although  mindful  of the  time

            pressures on  the district  courts, we urge  again that  some

            expression of reasoning, as well as fact-finding, accompany a

            departure.   E.g., Emery, 991 F.2d  at 913.  But  we will not
                         ____  _____

            remand for an explanation that is so clearly implicit in what

            the district court found.

                 Black's second argument is  that the degree of departure

            was  unreasonable or  at least  inadequately explained.   The

            increase from  level 14 to  level 17, given  Black's criminal

            history category,  amounted to an increase  in the sentencing

            range   which  can  be  measured  in  several  ways:    as  a

            percentage, it  is an  increase of  minimums and  maximums of

            about one-third,  which sounds  substantial; but in  terms of

            months,  it increases  the  ultimate range,  measured by  the

            midpoint of  each range,  by about 15  months--something less

            than overwhelming.

                 The latter figure alone suggests that, by  a standard of

            reasonableness,   the  degree   of  the  departure   was  not

            disproportionate,  given  Black's  record  and  the  implicit

            rationale  of the  district court  for making  any departure.

            Even looked at in percentage terms, a 30 percent departure is

            not out  of line with past precedent,  using criminal history

            points  as a  crude  way of  comparing like  with like.   Cf.
                                                                      ___

            Emery,  991  F.2d  at  914 (upholding  41  percent,  21-month
            _____

            departure  for  offender with  20  criminal history  points);



                                         -21-
                                         -21-















            Brown,  899  F.2d  at  96 (upholding  133  percent,  12-month
            _____

            departure for offender with 20 criminal history points).  

                 But Black mainly attacks the  degree of the departure on

            the ground that the district court did not explain its choice
                                                       _______

            of three levels  rather than some other  figure.  It  is true

            that  the court gave no explicit  explanation directed at the

            choice of a particular  figure.  But  at least where a  small

            departure  is involved, it  may be  difficult to  provide any

            explanation  over and  above that  given for the  decision to
                         _______________

            depart.  Thus,  we have held  that "a reasoned  justification

            for [the] decision to depart"--readily inferred in this case-

            -may  also  constitute "an  adequate  summary  from which  an

            appellate  tribunal  can  gauge  the  reasonableness  of  the

            departure's extent."  Emery, 991 F.2d at 336-37.
                                  _____

                 In  this case  the  departure, measured  by months,  was

            quite  modest and Black's only  practical concern is with why

            he did not  receive even less.   It is  hard to know  how the

            district court could have explained this choice--to depart by
                                                ____

            three  levels instead of one  or two--except to  say that the

            grounds  for departure  called for  more than  a slap  on the

            wrist.   Given the modesty of the departure and its alignment

            with prior  cases, such as Emery  and Brown, we do  not think
                                       _____      _____

            that  the lack of an explanation can be deemed prejudicial or

            casts  any   doubt  on  the  facial   reasonableness  of  the

            departure.



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                 Affirmed.
                 ________



















































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